               Case: 1:20-cv-01054 Document #: 9 Filed: 04/07/20 Page 1 of 1 PageID #:128


                                                    AFFIDAVIT OF SERVICE

UNITED STATES DISTRICT COURT                                                           Case #: 20-cv-1054
NORTHERN DISTRICT OF ILLINOIS

                                         Republic Technologies (NA), LLC and Sream, Inc.
                                                                                                                  Plaintiff
                                                                   vs.

                                 Raw Smoke & Tobacco Inc., Hemal Kumar Patel and Hemlta Patel
                                                                                                                 Defendant

The undersigned, being first duly sworn, on oath deposes and says: That s(he) is now and at all the times herein mentioned was
a citizen of the United States, over the age of 18, not a party to nor interested in the above entitled action, is competent to be
witness therein, and that I served copies of the:

                                               Summons & Complaint; Exhibit(s)

PARTY SERVED: RAW SMOKE & TOBACCO INC.

PERSON SERVED: RUTUL PATEL, OWNER

METHOD OF SERVICE: Corporate - By leaving copies with the person identified above who stated they were authorized to
accept service.

DATE & TIME OF DELIVERY: 04/03/2020 at 4:45 PM

ADDRESS, CITY AND STATE: 2335 BODE RD, SCHAUMBURG, IL 60194

DESCRIPTION: Middle Eastern, Male, 40, 5'9'', 160 lbs, Black hair

I declare under penalties of perjury that the information contained herein is true and correct.




__________________________________________
Craig Palmer, Lic # 117-001119
Judicial Attorney Services, Inc.
2100 Manchester Rd., Ste 505
Wheaton, IL 60187
(630) 221-9007

SUBSCRIBED AND SWORN to before me on the 6th day of April, 2020.



_______________________________________________
NOTARY PUBLIC




CLIENT: The Ticktin Law Group                                                                                        Tracking #: 433251
FILE #: 17-0317
